        Case 1:22-cv-01734-JPB     Document 225     Filed 12/05/24   Page 1 of 5




                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

    VOTE.ORG, et al.,

               Plaintiffs,
         v.                                       CIVIL ACTION NO.
                                                  1:22-CV-01734-JPB
    GEORGIA STATE ELECTION
    BOARD, et al.,

               Defendants.

                                       ORDER

        Plaintiffs 1 filed this action against Defendants2 on May 2, 2022. [Doc. 1].

Plaintiffs filed an Amended Complaint on November 7, 2023. [Doc. 96]. The

Amended Complaint challenges a provision of Georgia law which requires those

voters who wish to vote absentee in Georgia to sign an oath contained on the

absentee ballot application in “pen and ink” (hereinafter referred to as the “Pen-

and-Ink Requirement”). According to Plaintiffs, the Pen-and-Ink Requirement

violates § 1971 of the Civil Rights Act of 1964, codified at 52 U.S.C. §


1
 Plaintiffs include Vote.org, Georgia Alliance for Retired Americans, Communications
Workers of America Local 3204 Retired Members Council and Priorities USA.
2
  Defendants are the Georgia State Election Board and its members (“State Defendants”);
the Fulton County Registration and Elections Board and its members (“Fulton
Defendants”); and the DeKalb County Board of Registration and Elections and its
members (“DeKalb Defendants”).
      Case 1:22-cv-01734-JPB      Document 225     Filed 12/05/24   Page 2 of 5




10101(a)(2)(B) (the “Materiality Provision”). The Materiality Provision prohibits

any “person acting under color of law” from

         deny[ing] the right of any individual to vote in any election
         because of an error or omission on any record or paper relating to
         any application, registration, or other act requisite to voting, if
         such error or omission is not material in determining whether
         such individual is qualified under State law to vote in such
         election.

52 U.S.C. § 10101(a)(2)(B).

      On March 7, 2024, State Defendants filed a Motion for Summary

Judgment.3 [Doc. 156]. In pertinent part, State Defendants argued that Plaintiffs

lack Article III standing because they are unable to establish any injury traceable to

or addressable by them. State Defendants further asserted that they are entitled to

summary judgment on the merits of Plaintiffs’ claims because the Materiality

Provision applies only to determinations of whether a voter is qualified to vote, and

not to the mechanics of voting. Plaintiffs also filed a Motion for Summary

Judgment. [Doc. 159]. Like State Defendants, Plaintiffs addressed the traceability

and redressability requirements of standing and the proper application of the

Materiality Provision. The United States filed a Statement of Interest on April 18,




3
 DeKalb Defendants joined State Defendants’ Motion for Summary Judgment on March
21, 2024. [Doc. 178].

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         Case 1:22-cv-01734-JPB       Document 225       Filed 12/05/24    Page 3 of 5




2024, addressing the scope and enforcement of the Materiality Provision. [Doc.

195].

         As the parties are likely aware, pending before this Court are several election

cases related to Senate Bill 202 (“S.B. 202”). Particularly relevant here, in Sixth

District of the African Methodist Episcopal Church v. Kemp, No. 1:21-cv-1284-

JPB, and Georgia State Conference of the NAACP v. Raffensperger, No. 1:21-cv-

1259 (collectively, “the Consolidated Cases”), the plaintiffs brought suit

challenging a provision of S.B. 202 that requires voters to put their date of birth on

the outer envelope of an absentee ballot (hereinafter referred to as “the Birthdate

Requirement”). 4 In the Consolidated Cases, the plaintiffs assert that the Birthdate

Requirement violates the Materiality Provision and even sought a preliminary

injunction to enjoin the law.

         The Court granted in part and denied in part the motion for preliminary

injunction on August 18, 2023. See In re Georgia Senate Bill 202, 1:21-mi-55555-

JPB (N.D. Ga. Aug. 18, 2023). Significantly, the Court determined that the

plaintiffs did not show traceability or redressability as to State Defendants, 5 and

therefore denied the request for a preliminary injunction as to State Defendants.



4
    Other provisions were challenged too, but they are not relevant to this order.
5
    State Defendants are the same in both cases. The plaintiffs, however, are different.

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         Case 1:22-cv-01734-JPB      Document 225       Filed 12/05/24   Page 4 of 5




After finding that the plaintiffs had standing against the remaining defendants

(select counties and county election officials), the Court concluded that the

plaintiffs were substantially likely to succeed on the merits of their claim that the

Birthdate Requirement violated the Materiality Provision. The Court thus granted

an injunction against several county defendants.

         The Republication National Committee, the National Republican Senatorial

Committee, the Georgia Republican Party, Inc. and the National Republican

Congressional Committee (“Intervenor Defendants”)6 appealed the preliminary

injunction order on September 18, 2023. State Defendants and the plaintiffs also

appealed. The appeals are currently pending before the Eleventh Circuit Court of

Appeals.

         Given the similarity of the issues involved in the instant case and the cases

on appeal, the Court is contemplating staying consideration of the pending motions

and this case until the Eleventh Circuit resolves the appeals in the Consolidated

Cases. As a general rule, a district court has “broad discretion to stay proceedings

as . . . incident to its power to control its own docket.” Clinton v. Jones, 520 U.S.

681, 706 (1997). Indeed, the Eleventh Circuit has stated that stays are appropriate

“to await a federal appellate decision that is likely to have a substantial or



6
    Intervenor Defendants are the same in both cases.

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      Case 1:22-cv-01734-JPB       Document 225    Filed 12/05/24    Page 5 of 5




controlling effect on the claims and issues in the stayed case.” Miccosukee Tribe

of Indians v. S. Fla. Water Mgmt. Dist., 559 F.3d 1191, 1198 (11th Cir. 2009). In

the Court’s view, the Eleventh Circuit’s upcoming decision in the Consolidated

Cases will address whether Plaintiffs in this case can establish the traceability and

redressability requirements as to State Defendants and should clarify the proper

application and scope of the Materiality Provision. In short, the Court believes that

the Eleventh Circuit’s ruling in the Consolidated Cases will have a “substantial or

controlling effect” on the issues in this case.

      The Court, however, does not want to stay this case without first having

input from the parties. Consequently, within one week of this order, the parties are

directed to meet and confer as to whether a stay is appropriate. If any party,

including Intervenors or the United States, objects to the stay, they may file their

objection no later than December 18, 2024. Responses to the objections, if any,

shall be filed no later than December 23, 2024.

      SO ORDERED this 5th day of December, 2024.




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